           Case 1:14-vv-00578-UNJ Document 34 Filed 08/07/15 Page 1 of 7




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 14-0578V
                                       Filed: July 17, 2015
                                           Unpublished

****************************
GILLIAN SEARS,                          *
                                        *
                    Petitioner,         *      Joint Stipulation on Damages;
                                        *      Trivalent Influenza (“Flu”) Vaccine;
                                        *      Brachial Neuritis; Special Processing
SECRETARY OF HEALTH                     *      Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
Isaiah Kalinowski, Esq., Maglio Christopher and Toale, PA, (DC) Washington, DC, for
       petitioner.
Glenn MacLeod, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                DECISION AWARDING DAMAGES1

Vowell, Chief Special Master:

       On July 8, 2014, Gillian Sears filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered “severe pain, burning
sensation, and stiffness in the right shoulder” within a few hours of receiving the trivalent
influenza vaccination on October 1, 2012. Petition, ¶¶ 2-3; accord. Stipulation, filed July
17, 2015, ¶¶ 2, 4. Petitioner references the medical records from one of her treating
physicians indicating “[t]his appears to be a relatively clear case of axillary neuritis
whether chemically induced or physically by the injection itself.” Petition, ¶ 2. Petitioner
further alleges that she experienced the residual effects of her injury for more than six
months and continues to suffer these effects. Petition, ¶¶ 9, 10; Stipulation, ¶ 4.
Respondent denies that the trivalent influenza vaccine caused petitioner’s brachial


1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
          Case 1:14-vv-00578-UNJ Document 34 Filed 08/07/15 Page 2 of 7



neuritis or any other injury, and denies that her current disabilities are sequelae of a
vaccine-related injury. Stipulation, ¶ 6.

       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
July 17, 2015, the parties filed a joint stipulation agreeing to settle this case and
describing the settlement terms.

      Respondent agrees to pay petitioner a lump sum of $150,000.00 in the form of a
check payable to petitioner, Gillian Sears. Stipulation, ¶ 8. This amount represents
compensation for all damages that would be available under § 15(a). Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                      2
Case 1:14-vv-00578-UNJ Document 34
                                29 Filed 08/07/15
                                         07/17/15 Page 3
                                                       1 of 7
                                                            5
Case 1:14-vv-00578-UNJ Document 34
                                29 Filed 08/07/15
                                         07/17/15 Page 4
                                                       2 of 7
                                                            5
Case 1:14-vv-00578-UNJ Document 34
                                29 Filed 08/07/15
                                         07/17/15 Page 5
                                                       3 of 7
                                                            5
Case 1:14-vv-00578-UNJ Document 34
                                29 Filed 08/07/15
                                         07/17/15 Page 6
                                                       4 of 7
                                                            5
Case 1:14-vv-00578-UNJ Document 34
                                29 Filed 08/07/15
                                         07/17/15 Page 7
                                                       5 of 7
                                                            5
